pase 6:17-cV-00278-.]A-KRS Document 49 Filed 10/25/17 Page 1 of 1 PagelD 920

UNITED STATEs DisTRlcT CouRT

MlDDLE DlsTRlcT oF FLoRlDA
ORLANDo DlvlsloN

ABDULLAH RABBAT,
Plaintiff,
v. Case No: 6:17-cv-278-Or|-28KRS

COV|NGTON SPEC|ALTY |NSURANCE
COMPANY,

Defendant/Third-Party
Plaintiff,

V.

SHERIFF OF ORANGE CCUNTY,
FLOR|DA,

Third-Party Defendant.

 

ORDER
ln light of the filing by the Sheriff of an Amended l\/lotion for Summary Judgment
(Doc. 48), it is ORDERED that the Sheriff’s initial l\/lotion for Summary Judgment (Doc. 47)
is DEN|ED as moot.

DONE and ORDERED in Orlando, Florida, on

 

 

/{J<')HN ANTG<')N ll
nited States District Judge

Copies furnished to:
Counsel of Record

 

 

 

